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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                            EASTERN DIVISION
     ___________________________________
     GARY MEDNICK, individually and on           )
     behalf of all others similarly situated,    )
                                                 )    Case No. 1:14-cv-03624
                                                 )    CONSOLIDATED ACTION
                             Plaintiff,          )
                                                 )    Hon. Harry D. Leinenweber
            v.                                   )
     PRECOR INC., a Delaware corporation,        )    Magistrate Judge Daniel G. Martin
                                                 )
                             Defendant.          )
     ___________________________________
     STEVEN BAYER, individually and on           )
     behalf of all others similarly situated,    )
                                                 )
                             Plaintiff,          )
                                                 )
            v.                                   )
                                                 )
     PRECOR INC., a Delaware corporation,        )
                                                 )
                             Defendant.          )
     ___________________________________ )

                             MOTION FOR APPOINTMENT OF PLAINTIFFS’
                                   INTERIM CO-LEAD COUNSEL

                Pursuant to Rule 23(g) of the Federal Rules of Civil Procedure, Plaintiffs Gary Mednick

     and Steven Bayer (“Plaintiffs”), by and through their undersigned counsel, respectfully submit

     this Motion for Appointment of Plaintiffs’ Interim Co-Lead Counsel and Executive Committee.

     In support of their Motion, Plaintiffs state as follows:

I.       INTRODUCTION

                The undersigned are counsel for Plaintiffs in two class actions filed in this District styled

     Mednick v. Precor Inc., Case No. 1:14-cv-03624 and Bayer v. Precor Inc., Ltd., Case No. 14-cv-

     04231. Both of these cases are consumer fraud actions relating to several of Defendant Precor

     Inc.’s (“Precor” or “Defendant”) fitness machines (the “Products”) and allege marketing


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misrepresentations by Precor. This Court recently related and consolidated these matters on July

23, 2014 into this Consolidated Action. [Dkt. No. 25].

           After this Court ordered consolidation, counsel in the constituent matters conferred and

have reached an agreement regarding a proposed leadership structure.                Pursuant to that

agreement, Joseph J. Siprut (Siprut PC) and Katrina Carroll (Lite DePalma Greenberg, LLC),

seek appointment as Plaintiffs’ Interim Co-Lead Counsel (jointly, “Proposed Co-Leads”).

Proposed Co-Leads have proven track records of experience, knowledge, and success in

litigating some of the nation’s largest consumer fraud class actions and complex litigation

matters, and are well qualified to serve as interim class counsel here.1            Additionally, in

accordance with the agreement, they further propose that the Court appoint Richard Gordon

(Gordon Law Offices) to Plaintiffs’ Executive Committee (“Proposed Executive Committee”).

Plaintiffs ask the Court to appoint their choice of counsel to protect the interests of the Class and

promote an efficient adjudication of this and any related case(s) filed in or removed to this Court.

 II.       ARGUMENT

           By appointing interim lead counsel, the Court will ensure that the litigation is conducted

in an organized and efficient manner by skillful and experienced counsel. Manual for Complex

Litigation, Fourth, Federal Judicial Center (2004) (“Manual”) § 10.221. As described herein,

Plaintiffs’ chosen counsel meet each of the criteria enumerated in Fed. R. Civ. P. 23(g) and

should be appointed to represent the class in the Consolidated Action.

           The Manual summarizes the responsibilities of lead counsel as follows:

           Lead counsel. Charged with formulating (in consultation with other counsel) and
           presenting positions on substantive and procedural issues during the litigation.
           Typically they act for the group — either personally or by coordinating the efforts
           of others — in presenting written and oral arguments and suggestions to the court,

           1
        The summary resume of Mr. Siprut is attached hereto as Exhibit A. The firm resume of Lite
DePalma Greenberg, LLC, which includes the biography of Ms. Carroll, is attached as Exhibit B.

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           working with opposing counsel in developing and implementing a litigation plan,
           initiating and organizing discovery requests and responses, conducting the
           principal examination of deponents, employing experts, arranging for support
           services, and seeing that schedules are met.

Id. The early appointment of interim co-lead counsel for Plaintiffs will facilitate the efficient

prosecution of the claims at issue in this litigation.

           Federal Rule of Civil Procedure 23(g)(3) provides that the Court “may designate interim

counsel to act on behalf of a putative class before determining whether to certify the action as a

class action.” In appointing interim lead counsel, the Court must consider:

                  (i)     the work counsel has done in identifying or investigating
                          potential claims in the action;

                  (ii)    counsel’s experience in handling class actions, other
                          complex litigation, and the types of claims asserted in the
                          action;

                  (iii)   counsel’s knowledge of the applicable law; and

                  (iv)    the resources that counsel will commit to representing the
                          class.

Fed. R. Civ. P. 23(g)(1)(A). The Court may also consider “any other matter pertinent to

counsel’s ability to fairly and adequately represent the interests of the class.” Fed. R. Civ. P.

23(g)(1)(B).

           Consistent with Rule 23, courts routinely appoint leadership structures to coordinate the

prosecution of complex litigation. In re Bank of Am. Corp. Sec., Derivative & ERISA Litig., 258

F.R.D. 260, 271 (S.D.N.Y. 2009) ("[i]n complex cases, courts may appoint a plaintiff leadership

structure to coordinate the prosecution of the litigation"); In re Bendectin Litig., 857 F.2d 290,

297 (6th Cir. 1988) ("[i]n complex cases, it is well established that the district judge may create a

Plaintiffs' Lead Counsel Committee") (citations omitted).




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           Here, Proposed Co-Leads: (i) have worked diligently on this action since its inception;

(ii) have considerable experience in leading the prosecution of complex consumer class actions,

including consumer fraud, common law breach of contract, and declaratory judgment claims, and

other complex litigation; (iii) are familiar with applicable law; and (iv) have the demonstrated

ability to commit the necessary resources to this matter. Moreover, Proposed Co-Leads have

agreed on a leadership structure and will adequately represent the interests of Plaintiffs and the

putative Class. See Third Circuit Task Force Report: Selection of Class Counsel, 208 F.R.D.

340, 356 (2002) (“In deciding on appointment [of counsel], courts in class actions have

traditionally exercised case-by-case discretion, often relying on competing counsel to work out

an arrangement, also known as private ordering.”); Manual §§ 21.271-72.

           A. Proposed Co-Leads Have Identified and Investigated Claims on Behalf of
              Plaintiffs and the Putative Class.

           Proposed Co-Leads have already committed substantial time and effort to researching,

identifying and filing the claims of Plaintiffs and the putative Class. The allegations in both of

the individual actions were uncovered by due diligence of Proposed Co-Leads in investigating

Plaintiffs’ claims and the complaints prepared by counsel are comprehensive and of high quality.

Each of the Proposed Co-Leads is ready, willing, and able to commit the manpower and

resources necessary to vigorously litigate the Consolidated Action. Proposed Co-Leads have

already invested substantial time and effort into researching and briefing a joint opposition to

Defendant’s motions to strike and dismiss.         Thus, the “work” factor weighs in favor of

designation of Proposed Co-Leads here.

           B. Proposed Co-Leads Have Significant Experience in Leading the Prosecution of
              Consumer Class Actions and Are Knowledgeable of Applicable Law.

           Courts appointing lead counsel have placed great emphasis on proposed class counsel’s

experience and knowledge of applicable law. See generally In Re Toys R Us Antitrust Litig., 191

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F.R.D. 347, 351 (E.D.N.Y. 2000) (“Class counsel are highly skilled and experienced and can

fairly and adequately represent the interests of the class.”); In re Cree, Inc. Sec. Litig., 219

F.R.D. 369, 373 (M.D.N.C. 2003) (appointing class counsel in a securities case where the firm

had “extensive experience in representing institutional investors in securities actions throughout

the country and . . . long been heavily engaged in securities and corporate litigation.”).

           As reflected in the high quality of the individual complaints filed on behalf of their

respective Plaintiffs and as their resumes confirm, Proposed Co-Leads have significant

experience leading the prosecution of complex class actions, including consumer fraud,

securities fraud and common law breach of contract and unjust enrichment claims. (See Exhibits

A-B.) They have repeatedly served as lead counsel, co-lead counsel and on Executive

Committees in such cases, are well-versed in applicable law, and will draw on their substantial

knowledge and experience to effectively represent Plaintiffs and the putative Class in this matter.

                  1. Joseph J. Siprut (Siprut PC)

           Joseph Siprut is the managing partner of Siprut PC. He was named a “Super Lawyer” in

Illinois for Class Action Litigation, and holds an AV Preeminent rating by Martindale Hubble,

the highest possible peer review rating. Mr. Siprut has been recognized for “high-stakes, high-

profile cases against large defendants” (Chicago Daily Law Bulletin, September 2011). As

federal courts have further recognized in appointing Mr. Siprut as lead class counsel in litigation

throughout the United States, Mr. Siprut and his firm have “substantial class action experience

[and have served] as lead counsel” in myriad class litigation. In re National Collegiate Athletic

Association Student-Athlete Concussion Injury Litigation, Case No. MDL 13-cv-9116 (N.D. Ill.

July 29, 2014).

           The firm’s recent settlements and leadership appointments include the following:



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              In re Southwest Airlines Voucher Litigation (Case No. 11-cv-8176, N.D. Ill.):
               Appointed lead counsel in nationwide class action relating to Southwest’s unilateral
               cancellation of drink vouchers paid for by business select travelers. Settlement valued
               up to $58 Million granted final approval.

              In re Energizer Sunscreen Litigation, (Case No. 13-cv-00131, N.D. Ill.): Appointed
               lead counsel in nationwide class action relating to defective sunscreen nozzles
               manufactured by Energizer. Settlement valued up to $200 Million granted final
               approval.

              In re National Collegiate Athletic Association Student-Athlete Concussion Injury
               Litigation (Case No. MDL 13-cv-9116, N.D. Ill.): Appointed co-lead counsel in
               consolidated MDL litigation against the NCAA on behalf of current and former
               collegiate athletes related to concussions and head injuries. Settlement of $75 million
               submitted for preliminary approval.

              Illinois Nut & Candy Home of Fantasia Confections, LLC v. Grubhub, Inc.: (Case
               No. 14-cv-00949, N.D. Ill): Appointed lead counsel in nationwide class action
               relating to unsolicited facsimile transmissions by Grubhub, in violation of the
               Telephone Consumer Protection Act. Settlement of $2 million granted preliminary
               approval.

              In re Zydus Unsolicited Fax Litigation (Case No. 13-cv-03105, N.D. Ill): Appointed
               lead counsel in nationwide class action relating to unsolicited facsimile transmissions
               by Zydus, in violation of the Telephone Consumer Protection Act. Settlement valued
               up to $2.25 million granted preliminary approval.

              In Re Prescription Pads TCPA Litigation (Case No. 13-cv-06897, N.D. Ill):
               Appointed lead counsel in nationwide class action relating to unsolicited facsimile
               transmissions by Rx Security, in violation of the Telephone Consumer Protection Act.
               Settlement of $1 million granted preliminary approval.

              Lim, et al. v. Vendini (Case No. 14-cv-561, Cal. Sup Ct.): Appointed co-lead counsel
               in nationwide class action relating to a security breach exposing the personal
               information of hundreds of thousands of consumers nationwide. Settlement of $3
               million granted preliminary approval.

              Windows Plus, Incorporated v. Door Control Services, Inc. (Case No. 13-cv-07072,
               N.D. Ill): Appointed lead counsel in nationwide class action relating to unsolicited
               facsimile transmissions by Rx Security, in violation of the Telephone Consumer
               Protection Act. Settlement valued at $1 million granted preliminary approval.

              Townsend v. Sterling (Case No. 13-cv-3903, N.D. Ill): Appointed lead counsel in
               nationwide class action relating to violations of the Fair Credit Reporting Act in the
               employment context. Settlement granted preliminary approval.



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              Foos v. Ann, Inc. (Case No. 11-cv-02794-L-MDD, S.D. Cal.): Appointed lead
               counsel in class action on behalf of California consumers for violations of the Song-
               Beverly Act. Settlement valued at $2,323,500 received final approval.

              Lamb v. Bitech, Inc. (Case No. 3:11-cv-05583-EDL, N.D. CA): Appointed lead
               counsel in class action on behalf of California consumers for violations of the Song-
               Beverly Act. Class-wide settlement on behalf of 30,000 California residents granted
               final approval.

              Golba v. Dick’s Sporting Goods, Inc. (Case No. 30-2011-00472227, CA Superior
               Ct.): Appointed lead counsel in class action on behalf of California consumers for
               violations of the Song-Beverly Act. Settlement valued at $1,150,000 granted final
               approval.

              Pietrantonio v. Ann Inc. d/b/a Ann Taylor, Inc. (Case No. 13-cv-12721-RGS, D.
               Mass.): Appointed lead counsel in class action on behalf of Massachusetts consumers
               for violations of Massachusetts law prohibiting the collection of personal information.
               Settlement valued in excess of $2 million received final approval.

              Christensen v. Sur La Table, Inc. (Case No. 13-cv-11357-GAO, D. Mass.): Appointed
               lead counsel in class action on behalf of Massachusetts consumers for violations of
               Massachusetts law prohibiting the collection of personal information. Settlement
               received preliminary approval.

              Alberts v. TSA Stores, Inc. (Case No. MICV2014-01491, Mass. Sup. Ct.): Appointed
               lead counsel in class action on behalf of Massachusetts consumers for violations of
               Massachusetts law prohibiting the collection of personal information. Settlement
               valued at $2 million received preliminary approval.

              Moyer v. Michaels (Case No. 14-cv-561, N.D. Ill.): Appointed co-lead counsel in
               nationwide class action relating to a security breach exposing the personal
               information of hundreds of thousands of consumers nationwide.

              Dr. William P. Gress et al. v. Premier Healthcare Exchange West, Inc. (Case No. 14-
               cv-501, N.D. Ill.): Appointed co-lead counsel in nationwide class action relating to
               unsolicited facsimile transmissions by Premier, in violation of the Telephone
               Consumer Protection Act.

              John McNamara, et al. v. Samsung Telecommunications America, LLC, et al. (Case
               No. 14-cv-1676, N.D. Ill.): Appointed co-lead interim counsel in nationwide class
               action alleging false representations in connection with the performance of the
               Samsung 4G phone.

              Belville et al v. Ford Motor Company (Case No. 13-cv-06529, W.D. Va.): Appointed
               to Plaintiffs’ Steering Committee in consolidated class litigation against Ford related
               to sudden acceleration in Ford model vehicles.

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              In re Ventra Card Litigation (Case No. 13-cv-07294, N.D. Ill.): Appointed co-lead
               interim counsel in class litigation related to the Chicago Transit Authority Ventra
               payment card system.

              Banakus v. United Continental Holdings, et al. (Case No. 12-cv-06244, N.D. Ill.):
               Appointed co-lead interim class counsel in a nationwide class action pertaining to
               United’s unilateral, retroactive devaluation of the benefits earned by premier
               members.

              In re Barnes & Noble Pin Pad Litigation (Case No. 12-cv-8617, N.D. Ill.): Appointed
               co-lead counsel in nationwide class action relating to a security breach exposing the
               personal information of hundreds of thousands of consumers nationwide.

              Goodman v. Casting360, LLC (Case No. 12-cv-09851, N.D. Ill.): Appointed lead
               counsel in nationwide class action for violations of the federal Telephone Consumer
               Protection Act.

           As further demonstrated by Siprut PC’s firm resume, attached hereto as Exhibit A, Mr.

Siprut’s experience in successfully leading the prosecution of complex consumer class actions

establishes that he is well-suited to serve as one of Plaintiffs’ Interim Co-Lead Counsel here.

                  2. Katrina Carroll (Lite DePalma Greenberg, LLC)

           Katrina Carroll is a member of Lite DePalma Greenberg, LLC (“LDG”) and heads

LDG’s Chicago office. She has been actively involved in many of the firm's class actions since

2001, in the areas of securities fraud, consumer fraud, ERISA and antitrust. She served as Co-

Lead Counsel in some of the most prominent securities fraud class actions in the country,

including In re Motorola Securities Litigation (N.D. Ill.), where LDG achieved a $193 million

settlement for aggrieved investors, and in In re Tenet Healthcare Corp. Securities Litigation,

(C.D. Cal.), which resulted in settlements for $216.5 million against one set of defendants and

$65 million against the auditor defendant, representing one of the largest auditor settlements of

all time.

           Ms. Carroll is currently involved in some of the most challenging and exciting class

action litigation in the country today. Her current caseload includes:

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      JP Morgan Chase Mortgage Modification Litigation (D. Mass.): Ms. Carroll serves on
       the court appointed Executive Committee of attorneys representing a class of
       homeowners in a multi-district class action alleging improper practices committed by
       Chase in connection with mortgage loan modifications. The plaintiff homeowners allege
       a variety of improprieties committed by Chase, including failing to honor mortgage
       modification commitments and deceiving and misleading homeowners while processing
       modification applications. After nearly four years of litigation, in May of 2014, the court
       finally approved a settlement estimated to provide $500 million in mortgage modification
       relief to affected.

      Moyer v. Michaels Stores (N.D. Ill.): Ms. Carroll serves on the court appointed
       Executive Committee of a litigation team representing consumers who shopped at
       Michaels and had their personal financial information compromised as a result of a
       security breach disclosed by Michaels on January 25, 2014.

      Stern v. Maibec (D.N.J.): Ms. Carroll is pursuing this products liability class action on
       behalf of property owners who purchased wood shingles from Maibec. Plaintiffs allege
       that the shingles are plagued by design flaws that result in decay, including warping,
       peeling, cracking, buckling and curling.

      Automotive Wire Harness Systems Antitrust Litigation (D. Mich.): Ms. Carroll is
       plaintiff’s counsel in this multi-district antitrust class action brought by businesses
       against manufacturers of automotive wire harnesses and related parts. Plaintiffs allege an
       illegal price fixing conspiracy by these manufacturers that artificially inflated the prices
       of these products, in violation of the federal antitrust laws.

           A. Proposed Co-Leads Have Sufficient Resources to Advance the Litigation In a
              Timely Manner.

           Courts often consider the resources that proposed class counsel will commit to the

prosecution of the lawsuit. LeBeau v. United States, 222 F.R.D. 613, 619 (D.S.D. 2004) (“In

considering the resources that counsel will commit to representing the class, the Court may

consider the staff, supplies and professional commitments of that attorney.”) (citation omitted).

Proposed Co-Leads’ summary resume and declaration, as well as the cases they have led,

evidence their ability to fund this litigation. (See Exhibits A-B.)      Proposed Co-Leads will

continue to devote the required resources to aggressively represent and advance the interests of

Plaintiffs and the putative Class.




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           D.    The Proposed Executive Committee Member is Well-Qualified

           Richard Gordon is an experienced complex and commercial litigator who has

successfully represented plaintiffs and defendants in commercial litigation disputes in state,

federal and appellate courts.   He has wide ranging trial experience in multi-million dollar

complex commercial litigation matters and has favorably tried numerous cases before judges and

juries. Mr. Gordon is well-qualified to serve as Plaintiffs’ Executive Committee here.




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III.       CONCLUSION

           For the foregoing reasons, Plaintiffs on behalf of themselves and all others similar

situated, by and through undersigned counsel, respectfully request that the Court grant the instant

motion and appoint Joseph J. Siprut (Siprut PC) and Katrina Carroll (Lite DePalma Greenberg,

LLC) as interim Co-Lead Counsel in the Consolidated Action, and Richard Gordon (Gordon

Law Offices) to Plaintiffs’ Executive Committee.

Dated: September 10, 2014                             Respectfully submitted,

                                                      /s/ Katrina Carroll
                                                      Katrina Carroll
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                                                      Kyle A. Shamberg
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                                                      Proposed Interim Co-Lead Counsel

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                                  CERTIFICATE OF SERVICE

           The undersigned, an attorney, certifies that the foregoing Motion for Appointment of

Plaintiffs’ Interim Co-Lead Counsel was filed electronically with the Clerk of the Court using

the CM/ECF system on this 10th day of September, 2014, and served electronically on all

counsel of record.


                                                    /s/ Katrina Carroll




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